
976 So.2d 702 (2008)
In re Isaac F. HAWKINS, III.
No. 2008-OB-0339.
Supreme Court of Louisiana.
March 11, 2008.

ORDER
The Office of Disciplinary Counsel ("ODC") commenced an investigation into numerous complaints of serious professional misconduct filed against respondent. The complaints allege that respondent converted client funds, neglected legal matters, failed to communicate with his clients, and engaged in conduct involving dishonesty, fraud, deceit, or misrepresentation. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The ODC has concurred in respondent's petition.
Having considered the Petition for Voluntary Permanent Resignation from the Practice of Law filed by Isaac F. Hawkins, III, Louisiana Bar Roll number 18251, and the concurrence thereto filed by the ODC,
IT IS ORDERED that the request of Isaac F. Hawkins, III for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5(c) of the Rules of Professional Conduct, as amended March 24, 2004.
IT IS FURTHER ORDERED that Isaac F. Hawkins, III shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
/s/ Pascal F. Calogero, Jr.
Justice, Supreme Court of Louisiana
